Case 1:19-cr-00086-REB Document 75-1 Filed 01/14/20 USDC Colorado Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Criminal Action No. 19-cr-00086-REB


UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. DAMIEN LEWIS;
2 BRAINARD CLARK; and,
3. DAVID WINSTON;

       Defendants.


           ORDER FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM


       Upon motion of the United States and for good cause shown, it is hereby

       ORDERED that the Clerk of the Court issue a writ requiring the United States Marshal or

any other federal law enforcement officer to produce BRAINARD CLARK, YOB: 1994, DOC

Number 183409 is now confined at Crowley County Correctional Facility, 6564 CO-96, Olney

Springs, CO 81062, before the United States District Court Judge forthwith for an initial

appearance, and hold him at all times in custody as an agent of the United States of America

until final disposition of the Defendant's case.


       SO ORDERED this ___ day of January, 2020

                                               BY THE COURT:


                                               MAGISTRATE JUDGE
                                               UNITED STATES DISTRICT COURT
                                               DISTRICT OF COLORADO
